Case 1:14-cr-00033-HSO-BWR   Document 217   Filed 11/24/14   Page 1 of 6
Case 1:14-cr-00033-HSO-BWR   Document 217   Filed 11/24/14   Page 2 of 6
Case 1:14-cr-00033-HSO-BWR   Document 217   Filed 11/24/14   Page 3 of 6
Case 1:14-cr-00033-HSO-BWR   Document 217   Filed 11/24/14   Page 4 of 6
Case 1:14-cr-00033-HSO-BWR   Document 217   Filed 11/24/14   Page 5 of 6
Case 1:14-cr-00033-HSO-BWR   Document 217   Filed 11/24/14   Page 6 of 6
